Case 2:04-cv-02522-.]DB-dkv Document 27 Filed 07/21/05 Page 1 of 2 Page|D 29

By ,__~ m____ D.C.
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THGWG ill._ GOULD

‘ . SP:ST»";lCl COURT
U£§?”’JUOS?- ‘. f:l“lliiziiS

SHARRON BESSENT,
P|aintiff,

NO. 2:04-CV-O2522
JURY DE|V|AND

V.

 

DYERSBURG STATE CO|V||V|UN|TY
COLLEGE, and DR. KAREN BOWVER,
lndividua|ly and in her official capacity
as President of Dyersburg State
Community Co|lege,

Defendants.

ORDER GRANT|NG PLA|NT|FF ADD|T|ONAL TlME TO
RESPOND TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 

Upon Motion filed by the P|aintiff, and for good cause shown, it is hereby
ORDERED, ADJUDGED AND DECREED that P|aintiff shall have up until and
including July 25, 2005, in Which to file a response to the Defendants’ Nlotion for Summary
Judgment.
d\`
ENTER this 'LI_ day of , 2005.

I"RISCT OURT - WESTNER ISTCRIT OF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02522 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Arthur F. Knight

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STATE ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202--020

Honorable J. Breen
US DISTRICT COURT

